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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ALLSTATE INSURANCE COMPANY,                                              Docket No.: 24-cv-2123

                                              Plaintiff,
                                                                          ANSWER TO
         -against-                                                        COUNTERCLAIMS

 HELENE BRAUN, JACOB BRAUN, JONATHAN,
 BRAUN, MIRIAM HURWITZ, and YITZCHOK WOLF,

                                              Defendants.

 ---------------------------------------------------------------------X

         Plaintiff, Allstate Insurance Company (“Allstate”), by its attorneys, Lewis Johs Avallone

Aviles, LLP, as and for its Answer to the Counterclaims of Defendants, Jonathan Braun and

Yitzchok Wolf, in their Answer to the Complaint, alleges as follows:

                                       NATURE OF THE ACTION

         1.      The allegations contained in paragraph numbered “1” contain a statement regarding

the nature of the action to which no response is required. To the extent facts are alleged against

Allstate, they are denied. Allstate refers all questions of law to this Honorable Court.

         2.      Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “2” of Defendants’ Counterclaims.

         3.      The allegations contained in paragraph numbered “3” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         4.      Allstate denies the allegations contained in paragraph numbered “4” of Defendants’

Counterclaims, except admits that it adjusted the claims for the Mercedes and Bentley.
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         5.    The allegations contained in paragraph numbered “5” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         6.    Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “6” of Defendants’ Counterclaims.

         7.    Allstate denies each and every allegation contained in paragraph numbered “7” of

Defendants’ Counterclaims.

         8.    Allstate denies each and every allegation contained in paragraph numbered “8” of

Defendants’ Counterclaims.

         9.    Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “9” of Defendants’ Counterclaims.

         10.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “10” of Defendants’ Counterclaims.

         11.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “11” of Defendants’ Counterclaims.

         12.   Allstate denies each and every allegation contained in paragraph numbered “12” of

Defendants’ Counterclaims.

         13.   Allstate denies each and every allegation contained in paragraph numbered “13” of

Defendants’ Counterclaims.

         14.   Allstate denies each and every allegation contained in paragraph numbered “14” of

Defendants’ Counterclaims.
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         15.   Allstate denies each and every allegation contained in paragraph numbered “15” of

Defendants’ Counterclaims.

         16.   The allegations contained in paragraph numbered “16” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         17.   The allegations contained in paragraph numbered “17” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         18.   Allstate denies each and every allegation contained paragraph numbered “18” of

Defendants’ Counterclaims.

                                           PARTIES

         19.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “19” of Defendants’ Counterclaims.

         20.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “20” of Defendants’ Counterclaims.

         21.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “21” of Defendants’ Counterclaims.

         22.   The allegations contained in paragraph numbered “22” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.
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         23.   Allstate denies the allegations contained in paragraph numbered “23” of

Defendants’ Counterclaims, except admits that Allstate is an insurance company organized under

the laws of the State of Illinois and duly authorized to conduct business in New York.

         24.   The allegations contained in paragraph numbered “24” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

                                             FACTS

         25.   The allegations contained in paragraph numbered “25” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         26.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “26” of Defendants’ Counterclaims.

         27.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “27” of Defendants’ Counterclaims.

         28.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “28” of Defendants’ Counterclaims.

         29.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “29” of Defendants’ Counterclaims.

         30.   The allegations contained in paragraph numbered “30” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are
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alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         31.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “31” of Defendants’ Counterclaims.

         32.   Allstate denies the allegations contained in paragraph numbered “32” except that

Allstate admits that it investigated the claims.

         33.   Allstate denies having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered “33” of Defendants’ Counterclaims.

         34.   Allstate denies the allegations contained in paragraph “24” of Defendants’

Counterclaims but admits that its investigation included examinations under oath of several people.

         35.   The allegations contained in paragraph numbered “35” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

      AS AND FOR DEFENDANTS’ FIRST CAUSE OF ACTION FOR BREACH OF
         CONTRACT (THE SUBJECT AUTOMOBILE INSURANCE POLICY)

         36.   Allstate repeats and reiterates each and every denial heretofore made in regard to

each and every preceding paragraph of Defendants’ Counterclaims with the same force and effect

as though more fully set forth at length herein.

         37.   Allstate denies the allegations contained in paragraph numbered “37” of

Defendants’ Counterclaims, except admits that the Subject Policy is a valid, binding and written

contract between Allstate and the named insureds.
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         38.   Allstate denies the allegations contained in paragraph numbered “38” of

Defendants’ Counterclaims, except admits that it did not deny coverage based on lack of payment

of premiums.

         39.   Allstate denies each and every allegation contained in paragraph numbered “39” of

Defendants’ Counterclaims.

         40.   Allstate admits the allegations contained in paragraph numbered “40” of

Defendants’ Counterclaims.

         41.   Allstate denies the allegations contained in paragraph numbered “41” of

Defendants’ Counterclaims, except admits that it denied coverage for the Urus claim.

         42.   Allstate denies the allegations contained in paragraph numbered “42” of

Defendants’ Counterclaims, except admits that it denied coverage for the Urus claim.

         43.   The allegations contained in paragraph numbered “43” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         44.   The allegations contained in paragraph numbered “44” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are

alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

         45.   Allstate denies each and every allegation contained in paragraph numbered “45” of

Defendants’ Counterclaims.

         46.   Allstate denies allegations contained in paragraph numbered “46” of Defendants’

Counterclaims contain legal conclusions to which no response is required. To the extent facts are
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alleged against Allstate, they are denied. Allstate refers all questions of law to this Honorable

Court.

                      AS AND FOR A FIRST AFFIRMATIVE DEFENSE

         47.    Defendants’ Counterclaims fail to state a claim against Allstate upon which relief

can be granted.

                     AS AND FOR A SECOND AFFIRMATIVE DEFENSE

         48.    The obligations of Allstate are defined, limited and controlled by the Allstate policy,

including the coverages defined in the policy and the exclusions, conditions and other terms set

forth in the policy, as well as the limits set forth in the policy.

                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE

         49.    The claim is barred, in whole or in part, by the exclusions, limitations of liability

and/or other terms, conditions and definitions contained in the Allstate insurance policy.

                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

         50.    The subject policy does not provide coverage for the Urus as it does not qualify as

an insured auto as defined in the Allstate insurance policy.

                      AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

         51.    The subject policy does not provide coverage for the liability of Jonathan Braun as

he does not qualify as an insured person under the policy.

                      AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

         52.    Defendants’ claim for coverage under the Allstate policy is outside the scope of

coverage and/or subject to the policy exclusions.

                    AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

         53.    Allstate properly denied and disclaimed coverage for the Urus claim.
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                   AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        54.    Defendants fail to state a claim for bad faith claim handling against Allstate.

                     AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        55.    Allstate reserves its right to supplement this answer and assert any and all

affirmative defenses in the event further information becomes available, through discovery or

further investigation.

        WHEREFORE, plaintiff, ALLSTATE INSURANCE COMPANY, demands judgment

dismissing the Defendants’ Counterclaims herein, together with the costs and disbursements of

this action.

Dated: Islandia, New York
       April 30, 2024

                                       Yours, etc.,

                                       LEWIS JOHS AVALLONE AVILES, LLP


                              By:      ____________________________________
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